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Case 1:20-cv-07311-LAK Document 170
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UNITED STATES DISTRICT COURT ~ 4 EFECTRONICALLY FILED |?
SOUTHERN DISTRICT OF NEW YORK . , YDOCH :
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E, JEAN CARROLL,
Plaintiff,
-against- 20-cv-7311 (LAK)
DONALD J. TRUMP, in his personal capacity,

Defendant.
x

SCHEDULING ORDER

LEWIS A. KAPLAN, District Judge.
Unless this case previously has been entirely disposed of, trial of this action shail

commence on January 15, 2024 absent contrary order of the Court.

SO ORDERED.

Dated: June 15, 2023

 

Lewis A. fKaplan
United States District Judge
